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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

UNITED STATES OF AMERICA

VS.                                                         CASE NO: 6:13-cr-306-GAP-DCI

STEVEN LACOUR POPOVICH



                               REPORT AND RECOMMENDATION

        Pursuant to Local Rule 1.02, and In re: Authority of United States Magistrate Judges of

the Middle District of Florida, Case No. 8:20-mc-100-T-23 (October 29, 2020), on November 9,

2021, I conducted a final revocation hearing on the Superseding Petition for Offender Under

Supervised Release filed February 22, 2019. In the Petition, Probation Officer Matthew Zorn

alleges that the Defendant violated the following conditions of supervision:

        1. Positive urinalysis for marijuana on May 21, 2018, in violation of Condition Seven of the

Standard Conditions of Supervision: On May 21, 2018, the defendant provided a urine specimen,

which was analyzed and yielded positive results for the presence of Marijuana. Further, on May

21, 2018, the defendant verbally admitted that he had used Marijuana on May 18, 2018.

        2. Positive urinalysis for marijuana on October 12, 2018, in violation of Condition Seven

of the Standard Conditions of Supervision: On October 12, 2018, the defendant provided a urine

specimen, which was analyzed and yielded positive results for the presence of Marijuana. Further,

on October 12, 2018, the defendant verbally admitted that he had used Marijuana on October 11,

2018.

        3. Illegal drug use for 3,4-methylenedioxy-methamphetamine (MDMA), on October 7,

2018, in violation of Condition Seven of the Standard Conditions of Supervision: On October 12,

2018, the defendant admitted verbally and in writing that he used 3,4-methylenedioxy-

methamphetamine (MDMA) on October 7, 2018.
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       4. Positive urinalysis for Marijuana on December 5, 2018, in violation of Condition Seven

of the Standard Conditions of Supervision: On December 5, 2018, the defendant provided a urine

specimen, which was analyzed and yielded positive results for the presence of Marijuana. Further,

on December 5, 2018, in a written statement, the defendant admitted that he had used Marijuana

on December 4, 2018.

       5. Failure to report to a Residential Reentry Center/Residential Reentry Sanctions Center

in violation of the Special Condition: On December 13, 2018, the defendant failed to report to the

Dismas Charities Residential Reentry Center in Orlando, Florida.

       6. Failure to participate in Drug Aftercare Treatment in violation of the Special Condition:

On January 8, 2019, the defendant was unsuccessfully discharged from drug treatment based

upon unsatisfactory participation in individual sessions.

       7. New criminal conduct, Battery on a Law Enforcement Officer, occurring on February

15, 2019, while on supervision in violation of the conditions of supervision: On February 15, 2019,

the defendant while attempting to evade arrest, swatted away the officer’s hands and attempted

to remove an officer’s taser from the officer’s duty belt. He was subsequently charged with battery

on a law enforcement officer in Lake County Circuit Court, Tavares, Florida, Docket # 2019-CF-

521-03.

       8. New criminal conduct, Resisting a Law Enforcement Officer with Violence, occurring

on February 15, 2019, while on supervision in violation of the conditions of supervision: On

February 15, 2019, the defendant resisted arrest by hiding, swatting at officers, and refusing to

comply with commands. He was subsequently charged with resisting a law enforcement officer

with violence in Lake County Circuit Court, Tavares, Florida, Docket # 2019-CF-521-03.

       The Defendant admitted violating the Conditions as set forth in paragraphs 7-8 in the

Superseding Petition for Offender Under Supervised Release.

       The Government will move to dismiss violations in paragraphs 1-6 at sentencing.

       Accordingly, the undersigned finds that the Defendant has violated the terms of his



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Supervised Release and respectfully recommends that the Court dismiss the violations in

paragraphs 1-6 of the Petition and enter an Order to Show Cause why his Supervised Release

should not be revoked for the violations in paragraphs 7-8 of the Petition.

       The Defendant is in custody of the U.S. Marshal pending sentencing.

                                            NOTICE

       A party waives the right to challenge on appeal a finding of fact or conclusion of law
adopted by the district judge if the party fails to object to that finding or conclusion within
fourteen days after issuance of the Report and Recommendation containing the finding or
conclusion.

       Recommended in Orlando, Florida on this 9th day of November, 2021.




Copies furnished to:
United States Attorney
Federal Public Defender
District Judge




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